UNITED STATES DISTRICT COURT EXHIBIT

MIDDLE DISTRICT OF TENNESSEE 1
Nashville Division

CABINETS TO GO, LLC,

Civil Action No. 3:21-cv-00711
Plaintiff,

Judge Waverly D. Crenshaw, Jr.,
Magistrate Judge Jeffery S. Frensley

QINGDAO HATYAN GROUP, CO., LTD, et al.

Defendants,

SECOND DECLARATION OF JEROME BURDOCK

Jerome Burdock, pursuant to 28 U.S.C. § 1746 hereby declares as follows:

1.

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I am over 18 years of age, of sound mind, and otherwise competent to make this
Declaration. The evidence set out in the foregoing Declaration is based on my
personal knowledge.

I am the President and Chief Executive Officer of Scioto Valley Woodworking, Inc.,
doing business as Valleywood Cabinetry (hereinafter “Valleywood”), and submit this
Declaration in support of Valleywood’s Reply in Support of its Motion to Dismiss.
In my role, I have responsibility and authority for all day-to-day operations and
decisions of Valleywood.

Although owned by Qingdao Haiyan Real Estate Group Co., LTD (“Haiyan”), and
having a common shareholder with Hatyan, Valleywood operates as an independent

company and is not under Haiyan’s control.

Valleywood has a Board of Directors, maintains its own books, and files its own taxes
with the United States federal government and the State of Ohio, independent of its

parent corporation, Haiyan, or shareholders.

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10.

11.

Valleywood operates and owns its facility and offices in Waverly, Ohio, which
Valleywood purchased in its name.

Valleywood hires and maintains its own workforce and creates and manages its own
policies and business practices.

Valleywood independently enters into binding contracts in its name, including
financial contracts and grants.

Valleywood owns intellectual property in its name.

Valleywood owns software systems and ordering systems in its name.

Although Valleywood’s parent company and shareholders have general oversight of
Valleywood’s operations, Valleywood is not a “division” of Haiyan and Valleywood

operates independently from Haiyan in all aspects of its business.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on March /6 , 2022.

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Jerome Burdock

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